

Matter of Dinsmoor (2019 NY Slip Op 00523)





Matter of Dinsmoor


2019 NY Slip Op 00523


Decided on January 24, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: January 24, 2019
[*1]
In the Matter of THEODORE E. DINSMOOR, an Attorney. 

(Attorney Registration No. 1869213)

Calendar Date: January 22, 2019




Before: Lynch, J.P., Clark, Mulvey, Aarons and Pritzker, JJ.

Theodore E. Dinsmoor, Wellesley, Massachusetts, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Theodore E. Dinsmoor was admitted to practice by this Court in 1982 and lists a business address in Wellesley, Massachusetts with the Office of Court Administration. Dinsmoor now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Dinsmoor's application.
Upon reading Dinsmoor's affidavit sworn to December 17, 2018 and filed December 20, 2018, and upon reading the January 11, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Dinsmoor is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Mulvey, Aarons and Pritzker, JJ., concur.
ORDERED that Theodore E. Dinsmoor's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Theodore E. Dinsmoor's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Theodore E. Dinsmoor is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Dinsmoor is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Theodore E. Dinsmoor shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








